                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

                                    NO. 7:20-cr-00141-D



  UNITED STATES OF AMERICA
                                                              ORDER TO SEAL
      v.


  SAMUEL ARNETT, JR.



       On motion of the Defendant, Samuel Arnett, Jr., and for good cause shown, it is hereby

ORDERED that [DE 16] be sealed until otherwise ordered by the Court, except that copies may

be provided to the United States Attorney’s Office and Counsel for the above-named Defendant.

       IT IS SO ORDERED.

       This 18th day of September, 2020.



                                    ___________________________________________
                                    Robert B. Jones, Jr.
                                    United States Magistrate Judge




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